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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                             Chief Judge Philip A. Brimmer

  Civil Action No. 18-cv-00779-PAB-NYW

  JUDITH SARNELLA, as personal representative of the estate of Deovalente Sarnella,
  deceased,

        Plaintiff,

  v.

  ERIC KUHNS,
  PHILLIP MEDLIN, and
  JEFFERSON COUNTY SHERIFF DEPARTMENT,

        Defendants.


                                          ORDER


        This matter comes before the Court on defendants’ Motion to Dismiss [Docket

  No. 12]. The Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 1983.

  I.   BACKGROUND

        The allegations in plaintiff’s Complaint and Jury Demand [Docket No. 1] are to be

  taken as true in considering a motion to dismiss. Brown v. Montoya, 662 F.3d 1152,

  1162 (10th Cir. 2011).

        On September 2, 2015, Deovalente Sarnella (“Sarnella”) was outside his

  townhouse in Golden, Colorado, when a neighbor called the police to request a mental

  health welfare check. Docket No. 1 at 1, ¶¶ 1-2. Defendants Eric Kuhns (“Kuhns”) and

  Phillip Medlin (“Medlin”), who are deputy sheriffs with defendant Jefferson County

  Sheriff’s Department (“Department”), responded. Id. at 1-2, ¶¶ 3, 9. Kuhns confronted

  Sarnella outside the house. Id. at 2, ¶¶ 5-7. Sarnella exhibited unusual behavior. Id. at
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  2, ¶ 6. Kuhns, Medlin, and Sarnella went into Sarnella’s home, where Sarnella asked

  the deputies for help. Id. ¶¶ 8, 10. Sarnella reached into a cabinet. Id., ¶ 11. Not

  knowing what was in the cabinet, Kuhns and Medlin forcefully restrained Sarnella face

  down on his stomach and with his hands behind his back. Id. ¶¶ 11-13. The deputies

  knew that Sarnella was suffering from a mental health condition. Id., ¶ 14. The

  deputies then took Sarnella outside and laid him face down on the grass. Id., ¶ 15.

  Sarnella died. Id., ¶ 17. Paramedics arrived and were unable to revive Sarnella at the

  scene or at St. Anthony’s Hospital. Id. at 3, ¶¶ 26-29. An autopsy indicated that

  Sarnella’s cause of death was anoxic encephalopathy secondary to a cardiac arrest.

  Id., ¶ 30.

         Sarnella’s mother filed this lawsuit on April 4, 2018 in her capacity as the

  personal representative of Sarnella’s estate. Id. Plaintiff asserts three claims under 42

  U.S.C. § 1983: negligence, wrongful death, and “depriv[ing] [Sarnella] of his life which is

  his right and privilege guaranteed under federal law or the U.S. Constitution.” Id. at 4-7,

  ¶¶ 41-55. Defendants filed a motion to dismiss. Docket No. 12. Defendants argue

  that: (1) the Department is not a “proper, suable entity;” (2) the negligence and wrongful

  death claims against defendants Kuhns and Medlin are time-barred; and (3) defendants

  Kuhns and Medlin are entitled to qualified immunity on the constitutional claim. Id. at 3-

  15.

  II.   LEGAL STANDARD

         To survive a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil

  Procedure, a complaint must allege enough factual matter that, taken as true, makes



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  the plaintiff’s “claim to relief . . . plausible on its face.” Khalik v. United Air Lines, 671

  F.3d 1188, 1190 (10th Cir. 2012) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

  (2007)). “[W]here the well-pleaded facts do not permit the court to infer more than the

  mere possibility of misconduct, the complaint has alleged–but it has not shown–that the

  pleader is entitled to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (internal

  quotation marks and alteration marks omitted); see also Khalik, 671 F.3d at 1190 (“A

  plaintiff must nudge [his] claims across the line from conceivable to plausible in order to

  survive a motion to dismiss.” (quoting Twombly, 550 U.S. at 570)). If a complaint’s

  allegations are “so general that they encompass a wide swath of conduct, much of it

  innocent,” then plaintiff has not stated a plausible claim. Khalik, 671 F.3d at 1191

  (quotations omitted). Thus, even though modern rules of pleading are somewhat

  forgiving, “a complaint still must contain either direct or inferential allegations respecting

  all the material elements necessary to sustain a recovery under some viable legal

  theory.” Bryson v. Gonzales, 534 F.3d 1282, 1286 (10th Cir. 2008) (alteration m arks

  omitted ).

  III.   ANALYSIS

          A.   Whether the Department is a Separate Entity

          Defendants argue that the Department is not a separate legal entity capable of

  being sued. Docket No. 12 at 3-4. Plaintiffs offer no argument to rebut defendants’

  assertion. “Under Colorado law municipalities and counties, not their various subsidiary

  departments, exist as ‘bodies corporate and politic’ empowered to ‘sue and be sued.’”

  Stump v. Gates, 777 F. Supp. 808, 816 (D. Colo. 1991), aff’d, 986 F.2d 1429 (10th Cir.



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  1993) (citing Colo. Rev. Stat. §§ 31-15-101(1)(a) and 30-11-101(1)(a)); see also

  Lindsey v. Thomson, 275 F. App’x 744, 777 (10th Cir. 2007) (unpublished) (observing

  that sheriff’s departments and police departments are not usually considered legally

  suable entities). Therefore, the Department is not a proper defendant, and the Court

  will dismiss all claims against the Department.1

         B.   Qualified Immunity

         Defendants argue that defendants Kuhns and Medlin (“the officers”) are entitled

  to qualified immunity. Docket No. 12 at 7-13.

         Under the defense of qualified immunity, “government officials performing

  discretionary functions generally are shielded from liability for civil damages insofar as

  their conduct does not violate clearly established statutory or constitutional rights of

  which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800,

  818 (1982). An assertion of qualified immunity “creates a presumption that [a

  defendant is] immune from suit.” Perea v. Baca, 817 F.3d 1198, 1202 (10th Cir. 2016).

  “To overcome this presumption, [a plaintiff] must show that (1) the officers’ alleged

  conduct violated a constitutional right, and (2) it was clearly established at the time of

  the violation, such that ‘every reasonable official would have understood,’ that such

  conduct constituted a violation of that right.” Id. (quoting Mullenix v. Luna, 136 S. Ct.



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          Even if the Court construed the claim as one against Jefferson County as a
  municipality, it would also fail. A local governing body may be sued under § 1983 only
  where “the action that is alleged to be unconstitutional implements or executes a policy
  statement, ordinance, regulation, or decision officially adopted and promulgated by that
  body’s officers.” Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 690
  (1978). Plaintiff alleges no unconstitutional “policy statement, ordinance, regulation, or
  decision” of Jefferson County that its officers promulgated. See Docket No. 1.

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  305, 308 (2015)). Upon a public official’s assertion of a qualified immunity defense,

  plaintiff bears a “heavy burden” under a two-pronged analysis. Buck v. City of

  Albuquerque, 549 F.3d 1269, 1277 (10th Cir. 2008). Under the f irst prong of the

  analysis, the plaintiff is required to “establish that the defendant’s actions violated a

  constitutional or statutory right.” Smith v. Cochran, 339 F.3d 1205, 1211 (10th Cir.

  2003) (quoting Holland ex rel. Overdorff v. Harrington, 268 F.3d 1179, 1185 (10th Cir.

  2001)). The determination of whether a violation occurred under the first prong of the

  qualified immunity analysis turns on substantive law regarding that right. See Casey v.

  City of Fed. Heights, 509 F.3d 1278, 1282-83 (10th Cir. 2007). Under the second

  prong, the plaintiff must show that the right at issue was “clearly established” at the time

  of the defendant’s alleged misconduct. Saucier v. Katz, 533 U.S. 194, 201 (2001),

  overruled on other grounds by Pearson v. Callahan, 555 U.S. 223 (2009). A court can

  address the elements of qualified immunity in any order and need not address both

  elements if one is dispositive. Pearson, 555 U.S. at 236.

         Plaintiff alleges that the officers’ actions violated Sarnella’s right to life, which is

  “guaranteed by the Fourth Amendment.” Docket No. 14 at 4-5. Plaintiff also alleges

  that “it is unreasonable to exercise forcible restraint when such force results in death.”

  Id. at 5. The Court construes plaintiff’s claim to be an excessive force claim, and turns

  to the second prong of the qualified immunity analysis. “It is clearly established that

  specific conduct violates a constitutional right when Tenth Circuit or Supreme Court

  precedent would make it clear to every reasonable officer that such conduct is

  prohibited.” Perea, 817 F.3d at 1204; Aldaba v. Pickens, 844 F.3d 870, 877 (10th Cir.



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  2016). A clearly established right is one that is “sufficiently clear that every reasonable

  official would have understood that what he is doing violates that right.” Mullenix, 136

  S. Ct. at 308 (internal quotations omitted). Courts are “not to define clearly established

  law at a high level of generality.” Id.

         Here, plaintiff fails to show that the deputies’ specific conduct – handcuffing an

  individual known to the deputies to be suffering from a mental health condition and

  placing him face down on the grass – violates a constitutional right under Tenth Circuit

  or Supreme Court precedent. See Perea, 817 F.3d at 1204. Plaintiff offers no

  analogous case that would have made clear to the deputies that their conduct was

  prohibited. The Tenth Circuit has held that it is excessive force for officers to apply the

  “hog-tie” restraint technique “when an individual’s diminished capacity is apparent.”

  Cruz v. City of Laramie, Wyo., 239 F.3d 1183, 1188 (10th Cir. 2001). A hog -tie restraint

  involves binding an individual’s wrists to his ankles, behind the back, with twelve inches

  or less of separation. Id. The Tenth Circuit based its conclusion on case law and other

  materials discussing the dangers of the hog-tie restraint. Id. at 1188-89. Cruz also

  discussed the significant risk of asphyxiation when placing pressure on a restrained

  individual’s back when his arms and legs are restrained. See Weigel v. Broad, 544 F.3d

  1143, 1153-55 (10th Cir. 2008) (holding that it is clearly established law that

  “continu[ing] to use pressure on a vulnerable person’s upper torso while he was lying on

  his stomach” would “present a substantial and totally unnecessary risk of death to the

  person”). Here, however, plaintiff only alleges that the deputies cuffed Sarnella behind

  his back. Docket No. 1 at 2, ¶ 13. There is no allegation that the deputies applied any



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  restraint to Sarnella’s legs or connected hand restraints to leg restraints. Nor is there

  any allegation that the deputies placed any pressure on Sarnella’s back. Although the

  deputies knew that Sarnella had a mental health condition, clearly established law

  would not indicate to the deputies that handcuf fing Sarnella – as opposed to restraining

  him in a hog-tie position or putting pressure on his back – and placing him in a prone

  position on his stomach would carry a “significant risk of positional asphyxiation.”2 See

  Weigel, 544 F.3d at 1155. The Court concludes that Cruz and Weigel are insufficiently

  analogous to this case to hold that the deputies’ handcuf fing Sarnella behind his back

  and placing him face down in a prone position was a clearly established violation of his

  constitutional rights. Accordingly, the Court will dismiss the constitutional claim against

  the deputies on the grounds of qualified immunity.3

         C.   State Law Claims

         Defendants argue that plaintiff’s negligence and wrongful death claims arise

  under the Colorado Wrongful Death Act, Colo. Rev. Stat. §§ 13-21-201 to 204, and are

  therefore barred by the applicable statute of limitations. Docket No. 12 at 4-7. Plaintiff

  offers no argument to rebut defendants’ assertion.




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           Plaintiff’s complaint is internally inconsistent as to the cause of death. Though
  the statement of facts references an autopsy showing that Sarnella died primarily due
  to a heart attack (with secondary anoxic encephalopathy, or a loss of oxygen), plaintiff’s
  third claim alleges that Sarnella died due to the deputies depriving him of oxygen.
  Compare Docket No. 1 at 3, ¶ 30 with 6, ¶ 54.
         3
            Plaintiff’s response suggests that her claim is brought against the deputies in
  both their individual and official capacities. See Docket No. 14 at 5-6. For the reasons
  noted in footnote 1, plaintiff’s complaint cannot sustain a claim against the deputies in
  their official capacities.

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         The first two claims are captioned “FEDERAL CLAIMS - SECTION 1983

  VIOLATION - NEGLIGENCE” and “FEDERAL CLAIMS - SECTION 1983 VIOLATION -

  WRONGFUL DEATH.” Docket No. 1 at 4-5. However, § 1983 provides a claim for

  relief for deprivation of rights protected by the Constitution; it is not a “font of tort law to

  be superimposed upon whatever systems may already be administered by the states.”

  Paul v. Davis, 424 U.S. 693, 701 (1976). As negligence and wrongful death are state-

  law tort claims and plaintiff does not allege violation of a constitutional right as an

  element of either claim, the Court will construe both claims as state-law claims.

         Before the Court proceeds to plaintiff’s state law claims, the Court must be

  satisfied that it has jurisdiction. As plaintiff’s complaint states that both plaintiff and

  defendants are residents of Colorado, the parties are not diverse and the Court does

  not have original jurisdiction over the state-law claims. See Docket No. 1 at 4, ¶¶ 36,

  38; 28 U.S.C. § 1332(a)(1) (““The district courts shall have original jurisdiction of all civil

  actions where the matter in controversy exceeds the sum or value of $75,000, exclusive

  of interest and costs, and is between [] citizens of different States.”). Although the

  Court may exercise supplemental jurisdiction over state law claims if there is a

  jurisdictional basis for doing so, 28 U.S.C. § 1367(c)(3) provides that a district court

  “may decline to exercise supplemental jurisdiction over a claim . . . if . . . the district

  court has dismissed all claims over which it has original jurisdiction.” The Tenth Circuit

  has instructed that, “if federal claims are dismissed before trial, leaving only issues of

  state law,” courts should “decline to exercise pendent jurisdiction . . . absent compelling

  reasons to the contrary.” Brooks v. Gaenzle, 614 F.3d 1213, 1229-30 (10th Cir. 2010)

  (brackets, internal citations, and internal quotation marks omitted). Accordingly, the

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  Court will not exercise supplemental jurisdiction and will dismiss plaintiff’s wrongful

  death and negligence claims without prejudice for lack of jurisdiction.

  IV.   CONCLUSION

         For the foregoing reasons, it is

         ORDERED that Defendants’ Motion to Dismiss [Docket No. 12] is GRANTED. It

  is further

         ORDERED that all claims against defendant Jefferson County Sheriff’s

  Department are dismissed with prejudice. It is further

         ORDERED that the constitutional claim under 42 U.S.C. § 1983 against

  defendants Eric Kuhns and Phillip Medlin is dismissed with prejudice. It is further

         ORDERED that all other claims against defendants Eric Kuhns and Phillip Medlin

  are dismissed without prejudice for lack of jurisdiction. It is further

         ORDERED that, within 14 days of the entry of judgment, defendants may have

  their costs by filing a bill of costs with the Clerk of the Court. It is further

         ORDERED that this case is closed.


         DATED March 8, 2019.

                                               BY THE COURT:


                                                s/Philip A. Brimmer
                                               PHILIP A. BRIMMER
                                               Chief United States District Judge




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